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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division


JUUL LABS, INC.,

                         Plaintiff,


v.                                                        Civil Action No. 1:19-cv-00715-LO-IDD


THE UNINCORPORATED ASSOCIATIONS
IDENTIFIED IN SCHEDULE A,

                         Defendants.



                              NOTICE OF WAIVER OF HEARING

          Pursuant to Local Civil Rule 7(j) and Federal Rule of Civil Procedure 78(b), Plaintiff Juul

Labs, Inc., (“Plaintiff” or “JLI”), waives an oral hearing, and requests that a decision on

Plaintiff’s Ex Parte Motion to Extend the Temporary Restraining Order be determined on the

briefs.
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Date: July 8, 2019                Respectfully submitted,

                                  /s/ Monica Riva Talley
                                  Monica Riva Talley (VSB No. 41840)
                                  Byron Pickard (VSB No. 47286)
                                  Dennies Varughese, Pharm.D. (pro hac vice)
                                  Nirav N. Desai (VSB. No. 72887)
                                  Nicholas J. Nowak (pro hac vice)
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